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IN THE UNITED sTATEs DISTRICT cOURTUSAUGZ9‘PH 3=“5

FOR THE wEsTERN DISTRICT oF TENNESSEE
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DOROTHEA P. MARTIN,

Plaintiff,
Vs. No. 04-2413-Ma/V
GREYHOUND LINES, INC.,

Defendant.

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ORDER GRANTING DEFENDANT‘S MOTION FOR SUMMARY JUDGMENT
ORDER OF DISMISSAL
ORDER DENYING REMAINING PENDING MOTIONS AS MOOT
AND
ORDER ASSESSING APPELLATE FILING FEE

 

Plaintiff Dorothea P. Martin filed an employment
discrimination complaint under Title VII, 42 U.S.C. § 2000e-5,
alleging that Greyhound Lines, Inc. (Greyhound) discriminated
against her on the basis of her sex. On September 17, 2004,
Greyhound filed its answer to plaintiff’s complaint.

On October 22, 2004, Greyhound filed a motion to dismiss,
along with a supporting memorandum. Plaintiff did not respond to
the motion to dismiss. On July 20, 2005, Greyhound filed a motion
for summary judgment, along' with. a memorandun\ in support and
attached exhibits. On August l, 2005, plaintiff Martin filed a
“motion to deny Greyhound's motion to dismiss,” which the Court

construes as her response to the defendant‘s motion for summary

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judgments. On.iAugust 9, 2005, Greyhound filed. a response to
plaintiff's motion.

The following undisputed facts appear in the record.
l. After completing Greyhound's driver training program,

Plaintiff Martin was hired as an Extra Board Driver on
November 16, 2002.

2. Plaintiff Martin was provided with Greyhound's Driver Rule
Book. (Deposition of Martin; Exhibit A)

3. Plaintiff Martin signed a Driver Rule Book Acknowledgment
dated September 25, 2002. (Deposition of Martin; Exhibit B)

4. The Driver rule Book contains the following rules:

G~2 Discipline: Drivers may be disciplined or
discharged for violation or infraction of any
company rules, or for violation of federal,
state, provincial or local laws.

G-lB Reporting for Work: It is a driver's
responsibility to report for duty in
sufficient time as may be required and
prescribed to perform their duties. Failure
to report for work or to promptly notify a
Company Supervisor of the inability to report
for work or to report for work at the
prescribed time, is cause for disciplinary
action.

(Deposition of Martin; Exhibit C)

5. After one (1) month of employment with Greyhound, Ms. Martin
booked off work five (5) times due to illness and two (2)
times for personal reasons.

6. On December 21, 2002, Driver Supervisor James Jeffries, A.T.U.
Shop Steward Karen Miller and Senior Driver Manager Sherman
Hollins met with Plaintiff Martin to discuss her attendance
issues.

7. When confronted about her attendance record, Plaintiff Martin
claimed that she had not been sick when she booked off, but
instead had been fatigued.

8. Ms. Martin explained that she had not seen a doctor, but had
taken over the counter medication (Benedryl), which made her
drowsy.

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10.

11.

12.

When asked if she was aware of her' probationary status,
Plaintiff Martin stated her understanding that being on
probation meant that she could not miss too many days of work
and have no accidents or customer complaints.

On December 26, 2002, Ms. Martin was terminated for her poor
attendance record during her ninety (90) day probationary
period.

The Collective Bargaining Agreement between Greyhound and the
Amalgamated Transit Union contains the following provision:

Article G-5 Probationary Period

Employees other than operators will be given a
probationary period of 90 days from the date
of employment. For operators, the 90 day
probationary' period will commence with the
date of placement on the extra board or the
day of assignment to a regular run, whichever
comes first...

The grievance procedure is not applicable to
the dismissal of employees during the 90 day
probationary period... The probationary period
for any employee may be extended by mutual
agreement between the Company and the Union.

(Deposition of Martin; Exhibit D)
Plaintiff Martin has no evidence that she was replaced by

someone outside her protected class. (Deposition of Martin;
Exhibit E}

The grounds for defendant's motion for summary judgment are:

A. Plaintiff Martin cannot establish aa prima facie
case of sex discrimination; and

B. Defendant has articulated legitimate,
nondiscriminatory reasons for its employment
decisions.

Under Rule 56©, summary judgment is proper "if the
pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any,
show that there is no genuine issue as to any material
fact and that the moving party is entitled to a judgment
as a matter of law." Fed. R. Civ. P. 56(c); see Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as

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the movant has met its initial burden of "demonstrat[ing]

the absence of a genuine issue of material fact," ig; at

323, the nonmoving party then "must set forth specific

facts showing that there is a genuine issue for trial."

Fed. R. Civ. P. 56(e). If the nonmoving party is unable

to make such a showing, summary judgment is appropriate.
Emmons v. McLauthin, 874 F.2d 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, "the evidence as well as
the inferences drawn therefrom must be read in the light most
favorable to the party opposing the motion." Kochins v. Linden~
Alimakl Inc., 799 F.2d 1128, 1133 (6th Cir. 1986).

Pursuant to Rule 56(e), a "party opposing a properly supported
motion for summary judgment may not rest upon the mere allegations
or denials of her pleading, but must set forth specific facts
showing that there is a genuine issue for trial." §§d§;§gn_y¢
Libertv Lobbv, Inc., 477 U.S. 242, 248 (l986)(citations omitted).
A genuine issue of material fact exists "if the evidence [presented
by the non-moving party] is such that a reasonable jury could
return a verdict for the non-moving party." ldé In essence, the
inquiry is "whether the evidence presents a sufficient disagreement
to require submission to a jury or whether it is so one~sided that
one party must prevail as a matter of law." ;QL at 251452.

This Court thus must determine whether the defendant has
established the absence of a genuine issue of material fact as to
plaintiff's claim of sex discrimination under Title VII. When an

employee brings an employment discrimination claim, she bears the

burden of establishing a prima facie case of discrimination. Seel

 

e.g., United States Postal Serv. Bd. of Gov. v. Aikens, 460 U.S.

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711 (1983); Texas Dept. of Com. Affairs v. Burdine, 450 U.S. 248
(1981); McDonnell Douqlas Corp. v. Green, 411 U.S. 792 (1973).

It is undisputed that plaintiff is a female who was ultimately
terminated from her employment with the defendant. Plaintiff's
complaint, deposition excerpts, and response, however, fail to
relate any factual basis for any claim that the defendant made any
materially adverse employment decision based upon her sex. Kocsis
v. Multi-Care Manaqement, Inc., 97 F.3d 876, 883 (6th Cir.
l996)(citing McDonnell Douglas, 411 U.S. at 802). Plaintiff has
failed to allege or demonstrate that she was replaced by someone
outside her protected class. Mitchell v. Toledo Hospital, 964 F.2d
577, 582-83 (6th Cir. 1992). Martin testified under oath that she
has “no idea” whether she was replaced with a male driver.
(Deposition of Martin; Exhibit E)

Furthermore, plaintiff Martin. offers speculation and
subjective conclusions which are inadequate to offset a properly
supported summary judgment motion. Plaintiff's opinions do not
satisfy her burden to offer facts or affidavits that would raise a
genuine issue of fact regarding her claims. Conclusory allegations
and subjective beliefs are "wholly insufficient evidence to
establish a claim of discrimination as a matter of law." Mippp§ll,
964 F.2d at 585. Plaintiff has failed to present facts sufficient

to establish a prima facie case of sex discrimination.

 

Furthermore, the defendant’s dissatisfaction with the
plaintiff’s job attendance articulates a legitimate,

nondiscriminatory reason for the decision to terminate plaintiff's

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employment. Plaintiff Martin admits that she missed work during
her probationary period (Plaintiff's response) and offers no facts
to rebut the factual presentation by the defendant that her job
attendance was unsatisfactory.

Martin alleges that she took Benedryl for the flu and, because
Benedryl causes drowsiness, she was required to call in sick.
Plaintiff does not dispute the number of absences she accumulated
in a one-month period. She contends, however, that, because she
“followed Greyhound rules” for calling in sick or “booking off”,
she should not have been terminated. Martin also alleges, in
conclusory fashion, that she is the only driver “that was
terminated for booking off for being sick” and “if [she] was not a
female this would not have taken place.” (Plaintiff’s response)
Although plaintiff alleges that she can prove that the defendant
does “not terminate drivers for calling in sick or fatigued,” she
does not support her allegation with affidavits or exhibits.

Plaintiff's conclusory and speculative assertions about the
defendant's motives for terminating her are insufficient to counter
the documentation of her absences during the probationary period.
Martin's generalized assertions do not carry her burden pf
demonstrating the existence of a genuine issue of material fact.
Accordingly, the defendant's motion for summary judgment is hereby
GRANTED and the complaint is DISMISSED in its entirety. All other
pending motions in this case are rendered MOOT by this

determination and are DENIED.

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The same considerations that lead the Court to grant the
defendant's motion for summary judgment in this case also compel
the conclusion that any appeal as to those claims would be
frivolous. The plaintiff has failed to present any facts to
support her claim of sex discrimination and, accordingly, cannot
make a good faith argument that a genuine issue of material fact
exists for trial. It is therefore CERTIFIED, pursuant to 28 U.S.C.
§ 1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith and plaintiff may not proceed on appeal ip
fppma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601, 612-13 (6th Cir. 1997) and Callihan v.
Schneider, 178 F.3d 800 (6th Cir. May 28, 1999) apply to any appeal
filed by the plaintiff. If the plaintiff files a notice of appeal,
she must pay the entire $255 filing fee required by 28 U.S.C. §§
1913 and 1917,1 or attempt to renew her request for leave to appeal
ip fppma pauperis by filing "within thirty days after service of
the district court's decision as prescribed by Fed. R. App. P.

24(a)(4), a motion with [the Sixth Circuit] for leave to proceed as

 

a pauper on appeal." Callihan, 1997 WL 336307 at *3. Under
1 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, l l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the Clerk of the district court, by the appellant
or petitioner.

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Callihan, if the appellant does not file the required motion or pay
the filing fee within the thirty-day period, her appeal will be
dismissed for want of prosecution. If the appeal is dismissed, it

will not be reinstated once the fee is paid. Id.

IT Is so 0RDERED this 'L‘-LL day of August;, 2005

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02413 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

